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 1                                                           THE HONORABLE THOMAS S. ZILLY

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 7
                                   UNITED STATES DISTRICT COURT
 8
                                WESTERN DISTRICT OF WASHINGTON
                                               AT SEATTLE
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     HARMONY GOLD U.S.A., INC.,                        CASE NO. 2:17-cv-00327-TSZ

                            Plaintiff,                 DECLARATION OF JESSICA
11
                                                       STEBBINS BINA IN SUPPORT OF
            V.
12                                                     HARMONY GOLD U.S.A., INC.'S
     HAREBRAINED SCHEMES LLC,                          MOTION TO SEAL
13   HAREBRAINED HOLDINGS, INC.,
     JORDAN WEISMAN, PIRANHA GAMES                     NOTE ON MOTION CALENDAR:
14   INC., INMEDIARES PRODUCTIONS,                     DECEMBER 22,2017
     LLC, and DOES 1-10
15                          Defendants.

16

17   I, Jessica Stebbins-Bina, declare as follows:

18           1.     I am an attorney and partner at Latham & Watkins LLP, attorneys for plaintiff

19   Harmony Gold U.S.A., Inc. I am over eighteen years of age, and am competent to testify herein.

20   I make the following statements based on my personal knowledge.

21          2.      This declaration is submitted in support of plaintiffs Motion to Seal.

22          3.      Before filing this motion to seal, I met and conferred with counsel for all non-

23   defaulted defendants (including counsel for the Harebrained entities and Jordan Weisman,

24   Warren Rheaume and James Coming of Davis Wright Tremaine LLP, and counsel for Piranha
25   Games, Inc., Todd Fairchild and Ryan Meyer of Dorsey & Whitney LLP) pursuant to Local Civil


                                                                                        LAWOmCES
     DECL. OF STEBBINS BINA IN SUPPORT OF
                                                                            CALFO EAKES & OSTROVSKY PLLC
     HARMONY GOLD U.S.A. INC'S MOTION TO                                      1301 SECOND AVENUE, SUITE 2800
                                                                                SEATTLE, WASHINGTON 98101
     SEAL (Case No. 2:17-cv-00327-TSZ) - 1                                  TEL (206) 407-2200 FAX (206) 407-2224
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